

People v Sheriff (2025 NY Slip Op 02424)





People v Sheriff


2025 NY Slip Op 02424


Decided on April 24, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 24, 2025

Before: Moulton, J.P., Mendez, Rodriguez, Pitt-Burke, Rosado, JJ. 


Ind No. 1481/18|Appeal No. 4165|Case No. 2020-01302|

[*1]The People of the State of New York, Respondent,
vSwalihou Sheriff, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Megan Taeschler of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Rafael Curbelo of counsel), for respondent.



Order, Supreme Court, Bronx County (Ralph A. Fabrizio, J.), entered on or about January 31, 2020, which adjudicated defendant a level two sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant's argument as to his criminal history is unpreserved, and we decline to review it in the interest of justice. In any event, there were no mitigating factors that were not adequately taken into account by the risk assessment instrument. Further, defendant did not demonstrate that his Correction Offender Management Profiling for Alternative Sanctions Risk and Need Assessment (COMPAS risk assessment) for anticipated re-entry, which is used to assist the Department of Correction and Community Supervision's staff to supervise a releasee, warranted a downward departure (see e.g. People v Castillo, 211 AD3d 648, 649 [1st Dept 2022], lv denied 39 NY3d 912 [2023]; People v Roldan, 140 AD3d 411, 412 [1st Dept 2016], lv denied 28 NY3d 904 [2016]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 24, 2025








